Page 1 of 12

ease azlw-(;@JSQQCB§¥Q rp@@} Filed 11/28/18

     
 

 

1'~§
Fl!| in mas informa!ir,n to identify yc~ur n m
united Scates eanmzptcy C:ourt for me: *;""
Mldd!e Dlsmct of F!onda 53
c:)
Case number gyvmm: , Chap!er you are ming under: co
m m\&pfaf? --~
Cl chaper w §
C! 12 § "`
>@:B:: 1a n Che'c:k lf§h¢'s B~An `“Q`,"
‘ amended filing 333
Ochiaf_Fo'rm 101
12117

 

. ’ “. lt _ 9 3 "‘ ‘ H 9 ~ ` _ , .., . .
Vo¥untary Petrtxoh for indnvrduals Filmg for Bati kruptcy
mo bankruptcy foam use you and Debtor 1 to refer to a debtor filing abne. A married couple may file a bankruptcy case wgnther-ealled a
joint oase-and miami mes, those forms use you to ask for information fmm' both debiors. For examples if a form asks, "Do you own a car,"
the ammar would be m if either debtor owns a can Whan information ¥s needed shouting spouses sepamtely, the tom uses liath 1 and
umw 210 distinguish maximum m joint casas, one of me spouses must report infonn'a'tkm as sewer 1 and tire other as Debfor 2. Ths
aetna person must be Debtor 1 in ali of mofo'rms.
Be as comm and amato as possible.- if two named peth are wing togeihos', both are mmin responsible for supplying correct
infonnation. if more space is needed, attach a separate sheetto this form. On thatop of anyadditfonal pages, write your name and case number
(if known). Answer every quest!om

 

 

identify ¥ours¢!f

Ahdut hamm 2 (Spouse Only in a Jd{nt Cazs):

 

 

 

Ahoui Eebfor 12
1. Yom‘ full name
Writethe name that is on your . w
guvemment~issued picture BONN|E ,_- 64
identification (for e.xampte, F"” “a"‘“" " mma
your driver’s litie¢vsé of
passpdn). mdma name ` Middie me
B,,~,,g yo,,‘,me GR\ESHE¢MER _
idmmr<ztinnwyom meev'ng L==Swm> wsi me
with the trustee __ ,. . v
Suffu¢ (Sr , .rr4 !i, \llj

Sutfsz (Sr., Jr. |l, fm

 

 

 

 

 

 

` /
2. A|l other names you g A// g
have used in me last a ;;*M“:,,,Q.,N ' “ am me
years /Q_
lnch)de your miami or N‘h£¢;¢ name , IVdea name
maidennames. /Z. /C: §]"'/ Z;'/}'?') é_',)€-» t v , . - v
Las; name La$i flame
Fns€ name w w 4 v w y F'"** mg
Mdd!e ma Midde name
§_as£ name Las£ name

:L On|y the taxi 4 digits of

m _M-&é_@j@@@” m -W,_MM_JM__H

your Socia| Securify
number or federal DR OR
lndividual Taxpaysr _
ldenzificauon number 9 ><X ~ ><X ~_...~ __ _...~ ____ 9 ><>< - ><x ~____. ___. ____ ..._._,
(mN)

page 1

Offic|a| Form 101

Vofll!i!'afy Petffion for Individtlél$ Fi|if|g fm Banl$u*uptc‘y

 

Case 8:18-bk-10180-CPI\/| Doc 1 Filed 11/28/18 Page 2 of 12

 

umw BONN|E GR|ESHE|MER
f§é?§`m§ nw LE=.??'£W
Abou£Dabtor 11

4. Any business names
and Empl`osyer
(dentifi\':ation Numbers
(E|N) you have used in
fha tast 8 years

lnc$u<£e trade names arm
doing business as names

s. Where you live

s. Why you are choosing
this district to file for
bankruptcy

Omciaf Fon'n 101

m l have not used any winess names or E|Ns

C$S'E mlmbd( (¢'J‘)»c.mi ,

 

Abmlt Dobtor 2 (Spcuse' only ln a .!a¥nf casa):

0 l have not used any business names or EiNs.'.

 

 

Bus¢ness name audness name

Business name Business name

§r?€_ ""“"_'“"_'“““'“ §TF:""-"""""`“‘m'g"`"“

M_'" wwwwwww E-`N_' ""“"`“’““‘“’“""“""“
lt Debtor 2 lives at a different address:

11015 SA!:.T TREE DR

 

blumch Street

Number S(reef

 

 

PORT RlCHEY FL 34668

City scale ziP Code City mate zzr> code
PASCO

Councy County

 

¢f your mailing address is different fromthe one
abovo, fill lt fn hem. Nuie ¢h`aflhe mud will Sénd
any notices to you at this mailing address.

IE Deb£of Z’s maan address is differentier
y‘ours. tm it in here'. Nnte that the couri will send
any norm to this mailing address.

 

Number S{reet

Numbor Sfreet

 

 

PO BCX P' O Bo)¢
cay same zu= code cay stem z!P code
Checkone.' Ghec.'k one,‘

¥i Over the last 180 days before fdier this pet`ition,
l have lived in this disfer iongerthzn in any
other district

0 lhave ano!her reason Eup}ai`n.
(See 28 U.S.C. §1408.)

m Over the last 180 days before f`nin_g this petition
l have lived fn this district longer than in any
thEr' disfri€!.

0 l have another reason Explain.
(S€e 23 U.S,C. § 1408.)

 

 

 

 

 

 

voluntary Patitlon for individuals Fllfng for Bzmkruptcy page 2

 

Case 8:18-bk-10180-CPI\/| Doc 1 Filed 11/28/18 Page 3 of 12

 

 

oebwrr f§_?¢l,\al¢l§l§ §£E*SHElli/li§mlzm case 'L lime

 

'l'e&li§m¢ozt Ahoul:¥'our Bauluupf¢:y can

 

7. Tl'io chapter of tim Che'¢.‘k one. (Fora brief descriulion ofeadl, see Notico Reqm‘rod by 11 U.S.C. § 342(!)) forlndM¥iuals Fri'lng
gank¢uptcy code wm forBsnkruptcy (Fomi 2010)). Also, go to fha top of page 1 and check the appropriate box.
are choosing to file
under i.'] chapren
l:l Chapler 11
L'l Chapter 12
121 chapter 13

s. How you will pay the fee ill lwlll paythe entire fee when l file my oetltlon. Please check with file olerl<'s office in' your
local court for more details about how you may pay. Typically, if you are paying the fee
yourseif, you may pay with cash. cashier’s cheok, or money order. if your attorney ls
submitting your payment on your behaif, your attorney may pay with a credit card or check
with a pro-printed address

m l need w pay the fee irc inslallmenis. if you choose this oplion, sign and attach the
App/icofion for individuals to Pay Tho Filing Foo in lnstal/monls (Ofiicial Fom'\ 103A).

CI l requeot that my fee be waived (YoLl may requesl this option only if you are filing for Chapier 7.
By law. a lodge may, but is not required to, waive your fee, and may do so only if your income is
loss than 150% of the criticial poverty lino ihat applies to your family size and you are unable to
pay the fee in lnsiallmenls). if you choose this opiion, you must fill nut the Applicalr'on to Have ihe
Chapfer7 Fr'l)'ng Fea Waived (Ollicial Foim 1038) and ile it with your palition.

 

 

 

 

 

 

 

 

 

9. Have you filed for |:,~ No
hanlrmpicy within tire
hat 8 yeam? ® Yes‘ cwa MIDDLE When Case number
MMI DD /YY'YY
mudd MIDDLE Wh;;; Caga number _ _vw ,_,,___,,
MM l DD l YYVV
Disviol Whan nasa number
MM! DS/VWY
10. Ane any bankruptcy m Ng
cases pending or' being .
filed by a spouse who is o Ye’$( D°b*°' ' Re‘a“°“‘h'°t° y°"
not filing thus casewllh wynn a Whgn case number. il known .. - ,,
you, or by a business MM/oo /ww
partner, or by an
affiliate?
Oeblfof , Relalionship it> you
loing When Casa number, il known _,_,.,., 1,
MM l BD l YYYY
11. 00 you rent your 21 No. on currie 12.
"eslde"¢e? U Yes. Has your landlord omainecl an eviction judgment against you?

l:l No' Go to line 12.

E] Yes. l-“irl out Iniiia/ SéatemEnFAboui an Evidlon Judgmenmgainst You (Form ‘l U1A) and lite ll as
part of this vankmptoy petitiori.

Ofilcial Form 101 Vo!\mtary Pel£llm‘i forlrldlvldua!s Filing for Banhrupl;¢:y page 3

 

Case 8:18-bk-10180-CPI\/| Doc 1 Filed 11/28/18 Page 4 of 12

Debtm BONNIE 7§ti:{lESl-H';`ii\ri§R case munom.room

Fl='¢s rim hamm Lmlusrz§

m import Aboo¢ Any Mmses you own as a Sola Pmp‘rie'tor

 

12. Are you a sole proprietor m No. Go lo Part 4.

 

of any full- or part-time

busines¢r? n Ya¢:. Name and location of knows

A sole proprietorsz is a

WL?§[`:';;?;:§S! noteaas an Name of business, ir any g

separate legal entity such as
a corporation parinership, or

 

 

 

£LG‘ Numbor Siree’r

if you have more man one

sole proprietorship, use a

separate §{\eot amd attach ii

co this pemron. Chy ' Srare er code

Check fire appropriate box to describe your oual'noss:

ile worn care arrow <as owned rn 11 u,s c. § ror<er))
n Singlo Asset Real Est`aie las defamed in ii U.S.C. § 101(513))
Cl srocr<broxer rag named in 11 u.s.o, § rorrsao))

CJ oommoorcy Broker (as defined m 11 u.s.c, § 101(6);

C\ None of the above

131 Are you filing under lfyau are filing under Grraprer 11, the court must know whether you are a small business debtor so that it
chapter 11 of the can set appropriate obadlir‘zes. if you indicate that you are z small business debtor, you must aftach your
Bankmptcy code and most recent balance sheet statement of operations, cash-now sialement. and federal incomo tax return or if

are you a sma”busmess any of these documents do notexisl, foilowthe' procedure in 11 U.S,C. § 1118{1)(8).

dobtor?
. l f ` d h 11.
para demiu_on ofsma” m No am no &lrng un er C apier
M"'"ESS dam 589 C] N`o. l am iii' under Cha er 11. but l am NOT a small business debior accord‘n " futile delinilion 'n
11 u.s:.c. § 101<51‘©). me oarrm§upzcy curiae ' g l
13 Yes. l am i|ing under Chaoier 11 and l am a small business debtor according lo the definition in the
Banl<lupir:y Cude,

Par'r m R'¢por¢ ifYou mem or line kay Hmn!ous Fro\nrty or Any limpr 'l'h‘at Neods medium A`ttention

14. Do you own or have any m No
properly that poses or is l
augde w pose a threat n Y€B. What lS me hazafd? Aw
of imminent and
identlllable hazard to
public health or safeiy?
Or do youown any
?m'°n§;d'gg::§:§::? rome arremion is needeo, my is rr needed'r ,_m_“__r
Fore)rempte, do you own
peri$hable goods, orlivesiock
that must be lam ora building
that needs urgent repairs?

 

 

 

Where is the property?

 

Numbor w S{neer

 

Ci{y Slale ZiP Code

Oflicial Form 101 Volcmtary Petilion for individuals Filirrg for Bankrupk:y page 4

 

 

Case 8:18-bk-10180-CPI\/| Doc 1 Filed 11/28/18 Page 5 of 12

own ga_g;;;_gn_¢_t;§§g§enriug§%e

Case number o‘wwo

Part 5: E:¢plain ‘(our£ffons to timm a hiding Aboiut Credi¢ counseling

 

15. Tetl the court whether
you have received z
briefing about credit
counseling.

The law requires that you
receive a brleung about credit
counseling before you lite for
bankruptcy You must
faithfully check one of the
following olioioee, if you
cannot do so. you are not
eligible lo li!c.

if you file anyway, the court
can dismiss your case. you
will losewhatever filing fee
you pald. and your creditors
can begin collection activities
again

th‘clal Fo¢m 101

AbcufDebtorh

You must check one:

la l received a briefing from an approved credit
counseling agency within the 188 days below l
filed this bankruptcy petition and t received a
certificate of completion
Attaoh a copy cline certificate and the payment
plan, if any, that you developed with the agency

lZl i received a briefing nom an approved credit
counseling agency within the 130 days before l
filed this bankruptcy putnam but l do not have a
certificate of completion
Vlfilhln 14 days alter you tile this bamuptny petition
you MUST tile a copy of the certificate ann payment
plan, if any.

ill immust memoranda counseling
services from an approved agency,-, but was
unableto obtain those services during the T
days after l made my request, and exigent
circumstances merit a 30~day temporary waiver
of die requirement

To ask fora SMay temporary waiver ortho
requii'ei'nenll attach a separate street explaining
what efforts you made lo obtain the brieling. why
you were unable to obtain it before you filed for
bankruptcy. and what exigent circumstances
required you to file this case.

Your case may be dismissed il the court is
dissatisfied with your reasons lor not receiving a
briefing before you iled for mnkrtmtw.

lf the court is satisfied wills your reasons, you must
still receive e' briefing within 30 days alteryou tile
You must file a certificate from the anytqu
agency, along with a copy of the payment plan you
developed. il any. ltyou do not do so, your case
may be disrntssed,

Any' extension of the SD-da‘y deadline is granted
only for cause also is limited to a minimum or 15
days.

l:\ lam not required to receives briefing about
credit counseling because of:

El incapacity wave a mental unless or a moral
deliclerrcy that makes me
incapable of realizing or making
rational decisions about financee,

l_l nwaxnmy. My physical disability causes me
to be unable to participate in a
briefing in person by phone or
twoth the intemet, even offers
reasonablytned to do so.

l:l native duty; l am annuity on active military
duty in a military combat zone

if you believe you are not required to receive a
briefing about credit counselingl you must file a
motion for mir/er of credit comseling with the court

Voluntary Patiu'on for individuals Filing for

About liablan (Spouse Only in aJolnt Cm):

You must check one:

l:`l lmmtved a briefing from am approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition and l received a
estimated completion

Ati'aoh a copy of the certifith and me payment
plen. ifany. that you developed with the agency.

L.l t received a briefing from an approved credit
counseling agency within the tall days before t
filed this bankruptcy petition, but fda not have a
certificate of annotation

Wllhln ll days after you litethis bankruptcy petition.
you MUS‘F file a copy of the certificate and payment
plan‘ if any.

D l certify that l asked for credit counseling
services from an approved agency, but was
unable w obtain those services during the 7
days aftng made my request and exigent
circumstances merit a lid-day temporary waiver
of the requirement

To ask for a SMay temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the brieting, why
youwere unable to obtain it before you liled for
bankruptcy and what exigent circumstances
required you to tile this case,

Your case may be dist if lhe" counts
dissatisfied with your reasons for not receiving a
briefing before ynuiiled for bankmplcy,

ifthe court is satisfied with your reasons, you must
still receive a briefing within 30 days alter you lile.
You must tile a certillr:ale'from the approved
agency, along with a copy of the payment plan you
de\.leiopo<ld il any. li you do not do so, your case
may be' dismissed.

Any extension of the SO-day deadline is granted
cmlyfor came and r‘:. iimitedloa maximum otis
days.

13 l am nat required t_o receive a briefing about
credit contesting because ol-;

13 incapacity i have a mental illness or a mental
deficiency that makes me
incapable of realizing ormaking
rational decisions about finances,

El owning ny physical disability causes me
to be unable m participate in a
brieling in person, by phone, or
through the intemet'. even after l
reasonably tried to do so.

L_.l Aetive duty. lam currentlan active military
duly in a military combat zone.

lfyou believe you are not required to receive a
briefing about credit oounseiingi you must tile a
motion for waiver of credit counseling with the court

Bankruplcy page 5

 

Case 8:18-bk-10180-CPI\/| Doc 1 Filed 11/28/18 Page 6 of 12

Debfor 1

BONN!F_ GR|ESHE|MER
edmund

Case numberl.'arwa

 

M~MEE MM

Fart Gz' Answer'l`hese aueatlons fm kepur!ing Purposes

16, Whaf kind of debts do
you have?

11. Are you filing under
chapter 7?

Do you estimate that after
any exempt property is
excluded and
administra€ive~ expenses
are paid that funds will be
available for distribution
to unsecured cmdltars?

13. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worfh?

20. How much do you
estimate your liabillfles
to be?

_»…w

F-'or you

Oflicial Form 101

La;lNA(w

lsa. Am your debts primarily consumer debts? consumerdez>¢s are cleaned m 11 U.S.C. § 101 <s)
as "x'm;urred by an individual primarilyfur a personal, family, or household pnrpose."

L`.l No. sum ina zab.
£Zl ves\GotolineW.

16h. Are your debts primarily buslrtess debis? Business debts are debts that you imred to obtain
money for a buslness or wveslmml orthrough the operation of lhe business or investment

D No` Golo line 16a
13 ves. sons line 17.

md Slale the type of debts you owe that are not consumer debts or business debts.

 

m No. l am not filing under Chapter 7. 00 to line 18.

Cl Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses axe paid that funds will be available to distribute to unsecured creditors?

£JNo
E]Yes

Ql 449

63 sons
C! 100~199
El 200~999

l`A wssd.ono

13 ssd,om~sm,ooo
|3 siou.om-ssoo.ooo
L'.I ssno,ooi~$¢ maxim

13 wsso.ooo

Cl 550.001-5100¢000
E smo,um~ssdu.odo
L'J 3500.001-31 mission

owed

lf! have chasenfo file under Chapler 7. l am aware that | may proccad. if eligible, under Chepler 7. 11,12. or 13
offille 1 1, Unlled Stales Odde. l mdersfand the relief available under each chapler. and l choose lo proceed

under Chapfer 7.

El 1.00!)5.000
El 5,001¢10.000
lJ 10,001-25,000

Cl 51,000.001~$10 milam

EI $10,000.001-550 manion
D sso.ocm,om_s1 00 mccann
ill sloo,ooo.om~$soo million

Cl mcadam-sm mian

El slo.ooo.om-sso million
L*.l 550.000,001~5100 million
Cl 5100.000,001-5500 mnmm

l have examined this pelln‘m, and l dedare under penalty of perjury that the information provided is trueand

Cl 25.00'1~50.000
EJ 50,0<:1~100,000‘
CI Moreman 100,000

El ssoo.ooo,om~sl blum

D 51.000.000.001-$10 billion
lIl 510.000‘000,001.550 billion
E! Morethan ssa burton

CII 5500.000.001-51 human

CI 51_000,090.00~1~510 billion
Cl §10,000_000.001'-350 billion
E] Mcsre than $50 billion

 

|f no attorney represents me and l did not pay or agree to pay someone who is not an ammey to help me llll out
lhls dccumen!, l have obtained and readme malice required by 11 0.S.C. § 342(!)).

l request relief in accordance with the chapler of like 11.. Llnlfed Sfales Code, spec‘rhed ln this peullon.

l understand making a false slatement. concealing properly, of obtainlng money or property by fraud in connection
with a bankruptcy case can result in fines up to $2'50,000. or imprisomnentfor up to 20 years, or born
18 U.S.C. §§ 152. 1341.1 119, and 3571.

S¢'gnaiure of Det)tor

E)¢ecmed on [l_/__B_QL§_/_O

 

S`|gnalure of D`ehlor 2

/1//

mm 1 pb l YYY"'

Volunmry Petitian for lndividuals Fdlng for Bankmptr,y

E.XECU{€G Ol'l‘
MM/ DO /¥YY`(

Pa§€ 5

Case 8:18-bk-10180-CPI\/| Doc 1 Filed 11/28/18 Page 7 of 12

M¢ BONNFE GRIESHE|MER h , cna mmr/,~M.

LMHW

Fory°m, attorney if u m a.memmww@m@)mwvmpemm,mmm»m¢vwmmd¢wm.'.)amecrgiwmy
, b age Y° wmmevcmpcm,11.12,or1aofune11,umeasmsescode.mhaveexp¢ameamareuef
'°1"°‘9"°°" Y wmmaeammmwmmpemnvezm. sassooenfsymmmaveueuve:edwmeuemr(s}
menoueereqweavy 11 u.s.c. §s¢z¢v) anu, m a ease inman §701@)(4xnyappsies,cemryman have no
" you m not wym¢nwd mmvledge am m mmth me immatim m me smmmm wah am pension is mem
hyan ammey, youdo not
need to life this page. x

 

 

 

 

 

 

 

 

Date
Singst\neo?.‘\ttnrnay¢oruemor MM l 00 /YYYY
\'=‘i‘i‘r'\"iu?me` ’ '“ “
Numbe: S!met
@,~;@` ` sane z’lpcwe.
51me . _ Emaaadareas , __ ___
Earnumbsr z Sia{¢

thcia| Fon'n 101 Vo!unwy Pctit|on forllu§vlduah ang for Bas!imlptcy page 7

 

Case 8:18-bk-10180-CPI\/| Doc 1 Filed 11/28/18 Page 8 of 12

 

 

 

memory BONN!E GR|ESHE!MER Caga ‘ uqu

l‘rmmmc minoan merlle
For you if you are filing this The law allows you, as an individuai, to represent yourself in bankruptcy court but you
bankruptcy wiiif¢lut an should understand thstmany people find it extremely dimcult to represent
aftOm€ll themselves successfully Becauso vankruptcy has long-harm financial and legal

consequences, you are strongly urged to hlre a qualilied atiomey.

ll you are represented by 1 .
an anomey, you do mt To be successfu|. you mustcorreclly tile and handle your bankruptcy case. lite rules are very
need w me this pagan technical and a nustalce or inaction may affect your rights. For example your case may be

dismissed because you did not tile a required document pay a fee on time, attend a meeting or
healing, or cooperate with the couri. case t'rustee, U.S. trustee, bankruple administration or audit
linn ll your case is selected for audit lttlrat happens, you could lose your right to lite another
case, or you may lose protections, including lhe benefit of the automatic slay.

You must list all your property and debts in the schedules that you are requires to tila with tile
court Evsn ifyou plan to pay a particulardobi outside of your bankruptcy, you musl list that debt
in your schedulm. lf you do not list a debt lite debt may nol be discharged. lf you do riot list
properly or properly claim ltas exempt, you may not be able to keep the property The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
mee, such as destroying or hiding propeny, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accuratef truthful, and complete
Banlcruptcy fraud ls a serious orimo; you could ha fined and lmp‘risonecl.

ll’ you decide lo tile without an attorney, the conn expects you to follow the rules as if you had
hired an allomey, The oourtwill not treat you differently because you are filing for yourself 'lo be
successful you mustbe familiar with the Uniled Stales Banl<ruplcy Cocle. the Federal Rules cl
Banl<ruptcy Proceaure. and tile local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that lilmg for bankruptcy is a serious action with long~lorm financial and legal
consequences?

13 No

m Yea

Are you aware that bankruplcy fraud is a serious crimes and that if your bankruptcy forms are
inaccurate or incumpl'ete, you could be Hnad or lmprlsoned?

a No

m Yes

Did you pay or agree to pay someone who is not an attorney lo help you fill out your bankruptcy lorms'?

E} No
El Yes. Name ofParson CHRISTINE KLUTTS

Attach B'anht!prcy Pof)'llbn Pre'pamr’s llloll'ce, Decisran'on. and Slg/>ataro (Ofl`lclal Form 1 19).

By signing here, l acknowledge that l understand the risks involved in filing without an attorney l
have read and understood this notice, and l am aware distilling a bankruptcy case without art
attorney may cause me to lose my rights or property if l do not properly handle tile case

l'

Xl`§l“/MWWYW§/MW ’=

 

 

 

 

Slgnswrc of Deb‘lol l Siitnalure of Debtorz
Ua'ic lL,/*z/g$/vé_,/O / f Date %_________,
lum/no 1 MM/ DD/WYY
emotional li?.?l 247~2665 cummins
Cell phone t Cell phone W__,¢c,w _
El'nBll address E`mm'l address

 

Ofticial Form 101 voluntary Polll.ion for ludiviwals Fillng for Banicruptr,y page 8

 

Case 8:18-bk-10180-CPI\/| Doc 1 Filed 11/28/18 Page 9 of 12

'r"rl:` m llars,\ mlc)rmalnzu m rclenlr$~,‘ zhc» cuse.'

     

 

 

m va mm mm usm=m
Dsblur 2
(Spouse, ifr¥ngi F‘"cmm Mdd¢run» usi mm

   
   
 
 
    

uniled sums Banu¢upro/ courlrmhe: M?ddla Distrlcrof Florl'da

Case number
{ff knowl

 

 

Officia| Form 119

 

§ankmptcy Pgt_ition Preparer’s Hqgir§g,»beofqr_ation, and S'r'gnai:ure _ 12115

Bankrup£ay petltlon mparersas defined in 11 U.S.C, § 110 mus£ le mith form every time they help prepare documents that are filed lrl the
case. lf more than one bankruptcy petition preparer how with the documents, each must slgn fn Part 2. A bankruptcy petition preparer who
doss not comply with the provision‘§ of title 11 of the united Slate`s C'odo and the Fed`ml Rules chankn'lplny procedure may be llned,
rmprisonod, or koth. 11 U.S,G. § 110; 18 U.S.G. § 155.

No{i¢:e to uebtor

Bankruptcy petition PNPW¢B must give tim dower a copy o‘flhis form and hawaiich dobtorsrgn lt before they prepare any documents for
filing or accept any compensation. A slgned copy 01 this form must he lllad wills any document prepared;

Bankruptcy petition preparars are not altornays and may malpractice law or give you legal advioe, including the following:

'\3 whether to me a patilion under the Bankmplr:y Code (11 U`S.C. § 101 et seq.);

431 whether filing a case under chapter 7, 11. 121 or131's approprlaw;

11 whether your debts will be ellmlnated or discharged in a case under the Bankruptcy Code;

whetheryou will be able to keep your home, car, or olher properly auer ming a case under the Barrl<ruplc'y Code;
J what tax consequences may arise because a case is fried under the Bankruplcy Code;

31 whether any tax claims may be discharged;

r1 whether you may or should promise fo repay debts to a creditor or enter into a reaffmnation agreemenl;

<1 home characterize the nature olyour interests in property or your debls; or

"~' what procedures and rights apply \'n a bankruptcy oase,

The bankruptcy petition ,. r _¢CHRI STINE KLUTTS _ , , , . has notlfle¢l me of
Nama
any maximum allowable fee before preparing any document farming or accepting any fea.

. ` ill . ‘“
L@SY\/Y~/LQ, ~~£§`M,£/QMQ-l/WW 7 l W male ;;/?//?;‘Z/Q/‘F

S#§‘wa& ofDeh»lort acknowledging recelpto¥lhisna'lir:e MM f£}D !‘YYYV

Da£e
Slgnslure ofDeblorz acknowledgan renew ofthls notice MM l DD /WYY

Ofllclal Form 119 Bankrupu:y Palmon Praparax’s Nofice, neclara'u'm and Signawre page 1

 

CaS€ 8218-bk-10180-CP|\/| DOC 1 Filed 11/28/18 Page 10 Of 12

peyton BQ_NN|E GR’ESHE‘MER , Ca$e numt$arld¢r.a:‘.n)

F»'r€¢ ?»‘ura {M'L'R Niml Lh?£ NY#'~¢

Psrt 2: declarations md Signatum oftfre Bankwrptcy fixation hammer

Under penatty of perjury l declare that:
3 l am a bankruptcyr pe!it‘on preparer or the officer. pn'ncipat. raponsibla manson1 or partner of a bankruptcy petition prepaan

r1 l or my mm prepared the documents tisted below and gave the debtor a copy of them and the Notice to Dabtor by Bankruprcy Pelition
F'repareras required by 11 U.S.C. §§ 110(b), 110(t\), and 342(|)}; and

ifrutes orgutde|ines are established according w 11 U.S,C. § 110(tr} setting a maximum fee for services that bankruptcy petition
praparers may charge, tor my firm notified the debtor of me maximum amonntbefare prepaan any document for ming or before
accepting any fee from the debtor,

[l

 

 

 

 

CHRISTINE KLUTTS M _ _, w
Fr»rtfad name Tr\lé.'&;v?y Fi'm name. § ft appltas
415 SHEOAH BLVD APT 11
Numbar S!reat

WINTER SPRINGS FL 32708 407-408-6870
Ctiy S{af£! ZfP CDdE edqu le‘lé

t or my firm prepared the documents awarded betovr and the comp!eted dec!arat!`on is made a part of each document that l ch`eck:
{Chedr all that app/y.)

Ei vonan Pemwn ¢me mn E`.I schedurm worm men Cl chapter 11 sraremenr.orvourcmenrrvzonrnry
13 smemgmAbouwm/rsmr security umw ft scheder .1 gram 10st n mme (F°"“ mm

IF 1 1 v Cha tar 13 $€atement of Your Cu‘r nt Mon{hr

’ mm 2 ) . . . m D€¢‘m*"°“ F“’°"w" '"W°”at 565wa wasn and csran ¢rcommsrr;wr Pgn'o§
n $ummary of VourAsss!sand matrmes and Sct\edutrss tForm towed (Form 1220~1$

cerrrm starrer summation (Fo¢m rossum) » v , v _ , . .
n Sc;m[e NB wong m€m n SW€¥"€"T UfFi"Em¢t$‘ A“a"‘$ (F€tf“‘~ 1077 13 Chaptnr 13 Ca!¢ufntion or Your Dr's¢osabtrs

) CI smamem emma roy newman ang "'“°°'“€'(F°"“ *22¢'25

D swann c <Form mass under chaprer 7 ram roan EZi Appr»cawn co r=ay wang mm summean
L`J schedme o ram room 13 chapver'rsrarem¢neorvmcmren¢ <F°"“ '°3*°‘3
9 achedure ElF wm 1055”,) morning monte (Fcnn £22»=.-1; C] C\;I;P;;g:£u;n m r;;;;?haprsr 7 l~nrng rare
m _ t:! sraremwmrr.=mmpnm rem presumprvn a‘ € °““ '

S“*'ed“‘°m‘:°'m ‘°663 umw under§mrrh)rz) U numr.~am¢§m addressesoran¢redum
m Schédme H ([:m~m 106,.” (Form 122A’1Sup9) (Gf€dt'tol‘Ofmaif/I|g mdf!l')¢}

m Chaptar? Means Tast' Catcutatton C] greer

 

(P'orm 122}\-2)

Bankmpfcy petition preparers mustsign and give their Soatal Sewrity numbers. timore than one bankruptcy newton preparer prepared the dowmems
fn whtct\)t;}}§'<zectaration applies, the signature and Sociat Seourit.y number of each preparer must be provided. 11 U.S.C. § 110,

ij I/A ` " !{/” ,r g \M. ,L,` v .
51 . ///A:§</rf 74 : , ’WMM .f)‘/;,Q§@‘?/é;@r _b ua_glg?;q£:w/Y .

Signa re q{b'ankmptcy petition preparer of , respons€b¢e §Ememd£y numTer n'fTer':'o-nm stgned
person. banner

  

 

 

 

CHRISTINE KLUTTS ,
Prinfed name
-o-¢H-¢-v.-A- u-¢--» wavme Dawm~___
$9"=5~"9 of bankruptcy ramon FfBPH"=f Or aitken principa|. mpdnsib!e S¢scio\ Se<:uriiy number of person who stgned MM / our ww
person, or partner
Frnted name

Ott'rctat Form 119 Bankruptcy Petitian Praparer's Noiico, Dectarat$an,and Signature page 2

 

Case 8:18-bk-10180-CPI\/| Doc 1 Filed 11/28/18 Page 11 of 12

32800 (FOrm 2300) (12/15)

United States Bankruptcy Court
MIDDLE District Of FLORIDA

Inre B(>/\-l/Vl¢‘»"‘ GK/Q'S/'!@/m@'/C CaseNo.
Debtor
Chapter___l3_

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
[Must be filed with the petition ifa bankruptcy petition preparer prepares the peliiion. 11 U.S. C. § 110(h)(2).]

l. Under ll U.S.C. § llO(h), I declare under penalty of perjury that I am not an attorney or employee of an
attorncy, that I prepared or caused to be prepared one or more documents for filing by the above-named
debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
the filing of the bankruptcy pctition, or agreed to be paid to me, for services rendered on behalf of the
dcbtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services l have agreed to accept ............................... $ 250.0() PLUS FILING FEE

Prior to the filing ofthis statement I have received ............................................. $ 250.()0 PLUS FILING FEE

Balancc Due ......................................................................................................... $ O

2. l have prepared or caused to be prepared the following documents (itcmize): Petition> SSN Affidavit’ Fee lngtallment

Prcparer declaration, credit matrix
and provided the following services (itemize):
my fec also includes traveling costs

3. T ource ofthc compensation paid to mc was:
Debtor Other (specify)

4. The source of compensation to be paid to me is:
chtor Other (specify)
5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation

ofthe petition filed by the dcbtor(s) in this bankruptcy casc.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with
this bankruptcy case except as listed below:

NAME soclAL sECURITY NUM;BER
’) i)
-‘ t r

€'
, g

 

 

, 1 ” ./
’/j,.». / , 51 rt /, 'i‘*€'/, i»~g#‘).} s.~~<:"“ / v /.~ 2 s1
j v//u<:‘:“ 7,~11 / \ ///._( ;r’ k\:) /c)s(,) ///,r§i§ // soo 3c1/d
h Signature d " ' S’dcial Security number of bankruptcy /‘l)ate /
petition preparer*
CHRISTINE KLUTTS _¢U_§_SHEQAH_BLMD.AHLLMMINIEKSBR[NQS_FL 32708
Printcd name and title, if any, of Addrcss

Bankruptcy Petition Preparcr

* If the bankruptcy petition preparer is not an individual, state the Social Security number of thc officer, principal, '
responsible person or partner ofthe bankruptcy petition preparer. (Required by ll U.S.C. § 110).

A bankruptcy petition preparer’s failure to comply uiith the provisions of title 11 and the Federal Ru[es of
Bonkruplcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

Case 8:18-bk-10180-CPI\/| Doc 1

BGNN|E GRlESHE|l\/IER
LIST OF CRED|TORS:
lVlTGQ INVESTORS LP
200 W ST

NY NY 10282
$242255.()0

CHRYSLER CAP|TAL

PO BOX 961279

FT WORTH, TX 76161
$24000.00

CONSUMER FlNANClAL
10431 US-19

PORT RICHEY FL 34668
$12000.00

ONE l\/lAlN F|NANC|AL 8659 LlTl'l.E RD
PORT RlCHEY, FL 34654

SQOO0.00

Filed 11/28/18 Page 12 of 12

 

